         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-2047
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BELINDA MARIE DAVIS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Coleman L. Robinson, Judge.

                        August 21, 2024




PER CURIAM.

    AFFIRMED. See Parks v. State, 371 So. 3d 392, 393–94 (Fla. 1st
DCA 2023), review granted, 2024 WL 370043 (Case No. SC2023-
1355) (Fla. Jan. 31, 2024).

ROWE, BILBREY, and KELSEY, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Pamela D. Presnell,
Assistant Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, Tallahassee, for Appellee.




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